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01-348.061                                                         March 21, 2006


                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION


UNITED STATES OF AMERICA,                       )
                                                )
                         Plaintiff,             )
                                                )
             v.                                 )      No. 01 CR 348
                                                )
BETTY LOREN-MALTESE,                            )
                                                )
                         Defendant.             )


                             MEMORANDUM OPINION

    The court has under advisement the motion of the United States

for entry of a “Fourth Order as to Certain Substitute Assets.”                The

motion seeks forfeiture of $625,000 in fees and escrow funds paid

by the defendant Betty Loren-Maltese to Attorney Alan Dershowitz

(later shared with the law firm of Dershowitz, Eiger & Adelson,

P.C.) (hereafter collectively “Dershowitz”) as a “substitute asset”

pursuant to the RICO statute, 18 U.S.C. § 1963(m).                   Dershowitz

objects to the proposed forfeiture order on a number of grounds.

As a threshold matter, Dershowitz argues that the forfeiture

jurisdiction of the court over the defendant Betty Loren-Maltese in

this criminal case does not extend to third parties, such as Loren-

Maltese’s attorneys, who hold “untainted” assets transferred to

them by the defendant.       Dershowitz relies primarily on the case of

United States v. Saccoccia, 354 F.3d 9 (1st Cir. 2003).                   To the

extent that Saccoccia supports Dershowitz’s position, we decline to
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follow it.   We believe the better view is stated in several cases

which, construing substantially similar forfeiture provisions in

other statutes, held that untainted property of a defendant that

has been transferred to a third party is subject to forfeiture in

the criminal case as a substitute asset.              See United States v.

McHan, 345 F.3d 262, 270-72 (4th Cir. 2003) (holding that the

“relation back” doctrine applicable to tainted assets also applies

to untainted substitute assets in the hands of third parties and

that the forfeiture relates back to the time of the defendant’s

criminal act giving rise to the forfeiture); United States v.

Strube, 58 F. Supp. 2d 576, 582-83 (M.D. Pa. 1999); United States

v. Scardino, 956 F. Supp. 774, 778 (N.D. Ill. 1997); United States

v. Schmitz, 153 F.R.D. 136, 138-41 (E.D. Wis. 1994).

     Dershowitz’s other objections arise, for the most part, from

a concern that the entry of a forfeiture order at this time would

deny it the opportunity to assert its claims to the $625,000.                 On

the contrary, as the government points out, it is the entry of a

forfeiture order that triggers a procedure, described in 18 U.S.C.

§ 1963(l)(1)-(6), that enables third parties to assert and obtain

a hearing on their claims to the assets.               It appears that the

government has accurately described this procedure in Section

II(A)(4) of its Surreply to Defendant Loren-Maltese’s Opposition to

Entry of Order as to Certain Substitute Assets, at 9-12.                     The

proposed order submitted by the government contains a paragraph
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(3), which provides that the $625,000 be turned over by Dershowitz

to   the   United    States   Marshals   Service    pending     resolution    of

Dershowitz’s    claims.       The    government    has   now   withdrawn    that

request, and we agree that a turnover order would be inappropriate

in view of the questions which must be considered before the

ultimate forfeiture question can be decided. The order we are

entering is identical to the one submitted by the government,

except that paragraph (3) has been deleted.



      DATE:         March 21, 2006



      ENTER:        _____________________________________________
                    John F. Grady, United States District Judge
